           Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 1 of 12



 1   Danny J. Horen, Esq.
 2   NV Bar No. 13153
     Kazerouni Law Group, APC
 3   7854 W. Sahara Avenue
 4   Las Vegas, NV 89117
     Telephone: (800) 400-6808x7
 5   Facsimile: (800) 520-5523
 6   danny@kazlg.com
 7   David H. Krieger, Esq.
 8   NV Bar No. 9086
     HAINES & KRIEGER, LLC
 9   8985 S. Eastern Avenue, Suite 130
10   Henderson, Nevada 89123
     Phone: (702) 880-5554
11
     FAX: (702) 385-5518
12   dkrieger@hainesandkrieger.com
13
     Attorneys for Plaintiff
14   Lloyd W. Anderson
15
                          UNITED STATES DISTRICT COURT
16                             DISTRICT OF NEVADA
17                                          Case No.:
     LLOYD W. ANDERSON,
18
                   Plaintiff,               COMPLAINT FOR DAMAGES
19                                          PURSUANT TO THE FAIR CREDIT
                           v.               REPORTING ACT, 15 U.S.C. § 1681,
20                                          ET SEQ.
21   SHELLPOINT MORTGAGE
                                            JURY TRIAL DEMANDED
     SERVICING, and EQUIFAX
22   INFORMATION SERVICES,
23   LLC.
24                 Defendants.
25
     ///
26
27   ///

28   ///
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 2 of 12


                                      INTRODUCTION
 1
       1. The United States Congress has found the banking system is dependent upon
 2
 3        fair and accurate credit reporting. Inaccurate credit reports directly impair
 4
          the efficiency of the banking system, and unfair credit reporting methods
 5
          undermine the public confidence, which is essential to the continued
 6
 7        functioning of the banking system. Congress enacted the Fair Credit
 8
          Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”), to insure fair and
 9
10        accurate reporting, promote efficiency in the banking system, and protect

11        consumer privacy. The FCRA seeks to ensure consumer reporting agencies
12
          exercise their grave responsibilities with fairness, impartiality, and a respect
13
14        for the consumer’s right to privacy because consumer reporting agencies

15        have assumed such a vital role in assembling and evaluating consumer credit
16
          and other information on consumers. The FCRA also imposes duties on the
17
18        sources that provide credit information to credit reporting agencies, called

19        “furnishers.”
20
       2. LLOYD W. ANDERSON (“Plaintiff”), by Plaintiff’s attorneys, brings this
21
22        action to challenge the actions of SHELLPOINT MORTGAGE

23        SERVICING (“Shellpoint”) and EQUIFAX INFORMATION SERVICES,
24
          LLC. (“Equifax”) (or jointly as “Defendants”) with regard to erroneous
25
26        reports of derogatory and negative credit information made by Defendants,

27        and for failure of Defendants to properly investigate Plaintiff’s dispute(s),
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 3 of 12


          and this conduct caused Plaintiff damages.
 1
 2     3. Plaintiff makes these allegations on information and belief, with the
 3
          exception of those allegations that pertain to Plaintiff, or to Plaintiff’s
 4
          counsel, which Plaintiff alleges on personal knowledge.
 5
 6     4. While many violations are described below with specificity, this Complaint
 7
          alleges violations of the statute cited in its entirety.
 8
       5. Unless otherwise stated, all the conduct engaged in by Defendants took
 9
10        place in Nevada.
11
       6. Any violations by Defendants were knowing, willful, and intentional, and
12
13        Defendants did not maintain procedures reasonably adapted to avoid any

14        such violation.
15
       7. Unless otherwise indicated, the use of Defendants’ names in this Complaint
16
17        includes all agents, employees, officers, members, directors, heirs,

18        successors, assigns, principals, trustees, sureties, subrogees, representatives,
19
          and insurers of Defendants’ named.
20
21                                   JURISDICTION AND VENUE

22    8. This Court has federal question jurisdiction because this case arises out of

23        violation of federal law. 15 U.S.C. §1681 et seq.; 28 U.S.C. §1331; Smith v.
24
          Community Lending, Inc., 773 F.Supp.2d 941, 946 (D. Nev. 2011).
25
26        Jurisdiction arises for Plaintiff’s supplemental state claims under 28 U.S.C.

27        § 1367.
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 4 of 12


      9. This action arises out of Defendants’ violations of the Fair Credit Reporting
 1
 2        Act, 15 U.S.C. §§ 1681-1681(x) (“FCRA”).
 3
      10. Venue is proper in the United States District Court for the District of Nevada
 4
          pursuant to 28 U.S.C. § 1391(b) because Plaintiff is a resident of Clark
 5
 6        County, the State of Nevada. Defendants are subject to personal jurisdiction
 7
          in the County of Clark, State of Nevada as they conduct business there by
 8
          reporting credit information about consumers such as Plaintiff, who is a
 9
10        Nevada resident. Therefore, the conduct giving rise to this action occurred in
11
          Nevada. 28 U.S.C. § 1391(b)(2). Further, Defendant Equifax has a registered
12
13        agent of service in Nevada and is listed with the Nevada Secretary of State

14        as a foreign limited liability company doing business in Nevada.
15
                                         PARTIES
16
      11. Plaintiff is a natural person residing in the County of Clark, State of Nevada.
17
18        In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §

19        1681a(c). Defendants are corporations doing business in the State of
20
          Nevada.
21
22    12. Defendant Shellpoint is a furnisher of information as contemplated by 15

23        U.S.C. § 1681s-2(b) that regularly and in the ordinary course of business
24
          furnishes information to a consumer credit reporting agency.
25
26    13. Defendant Equifax is a national credit reporting agency, doing business in

27        Nevada, with a principal place of business in Georgia.
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 5 of 12


                                 FACTUAL ALLEGATIONS
 1
      14. At all times relevant, Plaintiff was an individual residing within the State of
 2
 3        Nevada.
 4
      15. At all times relevant, Defendants conducted business in the State of Nevada.
 5
      16. On or about December 31, 2004, Plaintiff allegedly incurred certain
 6
 7        financial obligations, in the form of a loan (the “Loan”) from Defendant
 8
          Shellpoint.
 9
10    17. On or about April 12, 2012, Plaintiff filed for Bankruptcy in the United

11        States Bankruptcy Court for the District of Nevada. Plaintiff’s case was
12
          assigned Case Number 12-14330 (the “Bankruptcy”).
13
14    18. The Loan was scheduled in the Bankruptcy and Defendant Shellpoint

15        received notice of the Bankruptcy.
16
      19. On or about November 24, 2014, Plaintiff received a Bankruptcy discharge.
17
18    20. Defendant Shellpoint did not file any proceedings to declare the Loan “non

19        dischargeable” pursuant to 11 U.S.C. § 523 et seq.
20
      21. Defendant Shellpoint also did not request relief from the “automatic stay”
21
22        codified at 11 U.S.C. §362 et seq. while the Plaintiff’s Bankruptcy was

23        pending.
24
      22. Accordingly, the Loan was discharged through the Bankruptcy.
25
26
27
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 6 of 12


      23. Further, while the automatic stay was in effect during the Bankruptcy, it was
 1
 2        illegal for the Defendant Shellpoint to report any post-Bankruptcy
 3
          derogatory collection information.
 4
      24. Defendant Shellpoint’s attempt to collect upon the account by reporting
 5
 6        post-Bankruptcy derogatory information was therefore false or inaccurate
 7
          and prohibited by the automatic stay or Discharge.
 8
      25. Plaintiff subsequently learned that Defendant Shellpoint reported post-
 9
10        Bankruptcy derogatory credit information regarding the Loan on Plaintiff’s
11
          credit reports, thereby causing erroneous and negative credit information in
12
13        Plaintiff’s credit files.

14                    The Equifax Misreported Credit Information
15
      26. In an Equifax credit report dated August 19, 2014, Defendants reported a
16
17        “Balance Amount” of $280,551, an “Amount Past Due” of $37,220, and a

18        “Date of 1st Delinquency” of 10/2012 regarding the discharged debt (the
19
          “Disputed Information”).
20
21    27. Defendant Shellpoint should have reported no such derogatory information

22        due to the Bankruptcy.
23
      28. Defendant Shellpoint should have reported a “$0” balance due to the
24
25        Bankruptcy. At a minimum, the account balance should reflect a balance of

26        “$0” resulting from Plaintiff’s Bankruptcy.
27
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 7 of 12


      29. On or about October 1, 2014, Plaintiff disputed Defendant Shellpoint’s
 1
 2        reported information regarding the Loan pursuant to 15 U.S.C. § 1681I(a)(2)
 3
          by notifying Defendant Equifax, in writing, of the incorrect and inaccurate
 4
          credit information furnished by Defendant Shellpoint, in regards to Account
 5
 6        No.: 51539*.
 7
      30. Specifically, Plaintiff sent a letter, certified, return receipt, to Defendant
 8
          Equifax (the “Dispute Letter”), requesting the above inaccurate and incorrect
 9
10        derogatory information be removed as follows:
11
             I am in a Chapter 13, Case Number 12-14330. Shellpoint Mortgage
12           Servicing should not be reporting postbankruptcy filing derogatory
13           information on my credit report since I am protected from debt collection
             by the automatic stay (II U.S.C. Section 362). Accordingly, the balance
14           on this account should be reported as "$0" and the status should be
15           reporting as "current". Further, there should be no post-filing derogatory
             information or "late" payments reported on this account. You are
16           currently reporting 02/2014 05/2014 (180 or More Days Past Due) and a
17           Balance of $280,551 and an Amount Past Due of $37,220 which should
             be removed. Also, in the Historical Account Information you show
18           Balances and Amount Past Due from 03/14- 05/14. Also, you are
19           reporting that my account Date of 1st Delinquency 10/2012.

20    31. The Dispute Letter further requested that Defendant Equifax:
21
             • Immediately delete this account and the disputed derogatory
22           information from [Plaintiff’s] credit report.
23
             • The discharged debt should be reported with an account balance
24           of $0 with a status of “current”.
25
             • Further, there should be no post-bankruptcy activity reported on
26           this account. The date of last activity on this account should pre-
27           date my bankruptcy filing date, 04/12/2012, since a default on this
             account occurred no later than the Bankruptcy filing date.
28
     COMPLAINT
            Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 8 of 12



 1
                 • Any post-bankruptcy derogatory information should be
 2               immediately deleted from [Plaintiff’s] report.
 3
                 • If [Defendant Equifax] do[es] not immediately delete this from
 4               [Plaintiff’s] credit report, please include a 100-word statement in
 5               my credit report of all of the disputed information contained in this
                 letter regarding this account.
 6
 7         32. Defendants were required to conduct a reinvestigation into this specific

 8            account on Plaintiff’s consumer report pursuant to 15 U.S.C. §1681i.
 9
           33. On or about October 31, 2014, Plaintiff received notification from
10
11            Defendant Equifax that Defendants received notice of Plaintiff’s dispute

12            pursuant to 15 U.SC. § 1681i(a)(6), and verified the account as “updated”
13
           34. Defendants failed to conduct a reasonable investigation and wrongly verified
14
15            inaccurate information in connection with Plaintiff’s credit reports.

16         35. Surprisingly, rather than remove the derogatory information from Plaintiff’s
17
              report, Defendants simply left the derogatory information on Plaintiff’s
18
19            report.   Specifically, Defendants still reported the following inaccurate
20            information:
21
                 • Balance Amount of $280,552
22
23               • Amount Past Due of $44,938
24
                 • Date of 1st Delinquency: 10/2012
25
     ///
26
27   ///
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 9 of 12


      36. Moreover, Defendants egregiously added derogatory information on
 1
 2        Plaintiff’s report. Specifically, Defendants reported the following inaccurate
 3
          information: “Date Maj. Del. 1st Rptd: 07/2014.”
 4
      37. The above false information was and continues to be furnished by
 5
 6        Defendants.
 7
      38. Plaintiff believes, and therefore alleges, that Defendants, upon receipt of
 8
          Plaintiff’s dispute, failed to conduct an investigation with respect to the
 9
10        disputed information as required by 15 U.SC. § 1681s-2(b)(1)(A).
11
      39. Plaintiff believes, and therefore alleges, that Defendants failed to review all
12
13        relevant information provided by Plaintiff in the dispute to Defendants, as

14        required by and in violation of 15 U.SC. § 1681s-2(b)(1)(B).
15
      40. Due to Defendants’ failure to reasonably investigate Plaintiff’s dispute,
16
17        Defendants further failed to correct and update Plaintiff’s information as

18        required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing Defendants to
19
          report inaccurate information in violation of 15 U.S.C. § 1681-s(2)(b)(1)(C).
20
21    41. Plaintiff’s continued efforts to correct Defendants’ erroneous and negative

22        reporting of the Loan by communicating his dispute with Defendants was
23
          fruitless.
24
25    42. Defendants’ continued inaccurate and negative reporting of the Loan in light

26        of its knowledge of the actual error was willful.
27
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 10 of 12


      43. Defendants’ inaccurate and negative reporting damaged Plaintiff’s
 1
 2        creditworthiness.
 3
      44. By inaccurately reporting account information relating to the Loan after
 4
          notice and confirmation of its errors, Defendants failed to take the
 5
 6        appropriate measures as required under 15 U.S.C. §§ 1681-s(2)(b)(1)(D) and
 7
          (E).
 8
      45. Plaintiff seeks equitable damages, including correction or deletion of the
 9
10        subject trade line from Plaintiff’s credit reports, along with money damages,
11
          both actual and statutory, in whatever amount a jury finds Defendants liable
12
13        plus attorney fees, litigation costs and court costs, and the claims are

14        otherwise within the jurisdiction of this Court.
15
                               FIRST CAUSE OF ACTION
16                  VIOLATION OF THE FAIR CREDIT REPORTING ACT
17                         15 U.S.C. § 1681 ET SEQ. (FCRA)

18    46. Plaintiff incorporates by reference all of the above paragraphs of this
19
          Complaint as though fully stated herein.
20
21    47. The foregoing acts and omissions constitute numerous and multiple willful,

22        reckless or negligent violations of the FCRA, including but not limited to
23
          each and every one of the above-cited provisions of the FCRA, 15 U.S.C
24
25        §1681.

26    48. As a result of each and every willful violation of the FCRA, Plaintiff is
27
          entitled to actual damages as the Court may allow pursuant to 15 U.S.C. §
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 11 of 12


           1681n(a)(1); statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
 1
 2         punitive damages as the Court may allow pursuant to 15 U.S.C. §
 3
           1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C.
 4
           § 1681n(a)(3) from Defendants.
 5
 6     49. As a result of each and every negligent noncompliance of the FCRA,
 7
           Plaintiff is entitled to actual damages as the Court may allow pursuant to 15
 8
           U.S.C. § 1681o(a)(1); and reasonable attorney’s fees and costs pursuant to
 9
10         15 U.S.C. § 1681o(a)(2) from Defendants.
11
                                     PRAYER FOR RELIEF
12
           Plaintiff respectfully requests the Court grant Plaintiff the following relief
13
14   against Defendants:

15                             FIRST CAUSE OF ACTION
16                   VIOLATION OF THE FAIR CREDIT REPORTING ACT
                            15 U.S.C. § 1681 ET SEQ. (FCRA)
17
18        • an award of actual damages pursuant to 15 U.S.C. § 1681n(a)(1);

19        • award of statutory damages pursuant to 15 U.S.C. § 1681n(a)(1);
20
          • an award of punitive damages as the Court may allow pursuant to 15
21
22           U.S.C. § 1681n(a)(2);
23
          • award of costs of litigation and reasonable attorney’s fees, pursuant to 15
24
             U.S.C. § 1681n(a)(3), and 15 U.S.C. § 1681(o)(a)(1) against Defendants
25
26           for each incident of negligent noncompliance of the FCRA; and
27
          • any other relief the Court may deem just and proper.
28
     COMPLAINT
        Case 2:14-cv-02125-APG-VCF Document 1 Filed 12/15/14 Page 12 of 12


                                        TRIAL BY JURY
 1
       50. Pursuant to the seventh amendment to the Constitution of the United States
 2
 3        of America, Plaintiff is entitled to, and demands, a trial by jury.
 4
 5
     Dated: December 15, 2014                            Respectfully submitted,
 6
 7
                                                  BY: /S/ DANNY J. HOREN__________
 8                                                       DANNY J. HOREN, ESQ.
                                                         NV BAR NO. 13153
 9
                                                         KAZEROUNI LAW GROUP, APC
10                                                       ATTORNEYS FOR PLAINTIFF
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
     COMPLAINT
